Case 3:15-cv-01058-JLS-RNB Document 114 Filed 06/05/18 PageID.1915 Page 1 of 1
   To:                          Mail Stop 8                                      REPORT ON THE
            Director of the U.S. Patent and Trademark Office        FILING OR DETERMINATION OF AN
                              P.O. Box 1450                         ACTION REGARDING A PATENT OR
                      Alexandria, VA 22313−1450                                    TRADEMARK
  In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has
  been filed in the U.S. District Court Southern District of California on the following: _X_ Patents or ___
  Trademarks:

   DOCKET NO.                     DATE FILED               US District Court Southern District of California
                 JLS-RNB
   3:15−cv−01058−LAB−DHB          5/11/15                  San Diego, CA
   PLAINTIFF                                               DEFENDANT

   FootBalance System Inc., et al.                          Zero Gravity Inside, Inc.
           PATENT OR                   PATENT OR                                PATENT OR
        TRADEMARK NO.               TRADEMARK NO.                           TRADEMARK NO.
   1. 7,793,433                    6.                       11.
   2. 8,171,589                    7.                       12.
   3.                              8.                       13.
   4.                              9.                       14.
   5.                              10.                      15.
               In the above−entitled case, the following patents(s)/ trademark(s) have been included:

   DATE INCLUDED                       INCLUDED BY

                                       __ Amendment __ Answer __ Cross Bill __ Other Pleading
            PATENT OR                              PATENT OR                           PATENT OR
          TRADEMARK NO.                         TRADEMARK NO.                      TRADEMARK NO.
   1.                                  6.                                   11.
   2.                                  7.                                   12.
   3.                                  8.                                   13.
   4.                                  9.                                   14.
   5.                                  10.                                  15.
             In the above−entitled case, the following decision has been rendered or judgment issued:

   DECISION/JUDGMENT : Order Granting 112 Joint Motion to Dismiss.


   CLERK                             (BY) DEPUTY CLERK                              DATE

   John Morrill                        D.Nanula                                       6/5/2018
